Case 2:21-cv-00001-JMA-AYS Document 23-2 Filed 05/10/22 Page 1 of 1 PageID #: 101




                           Judge Shields’ Initial Joint Letter Requirements

     2 DAYS PRIOR TO THE INITIAL CONFERENCE, COUNSEL MUST SUBMIT A

     JOINT LETTER ON THE DOCKET stating:

     1. Name of the case

     2. Basis for federal jurisdiction

     3. Statement confirming that all defendants have been served and answered

     4. Statement as to whether there are counterclaims or crossclaims; descriptions of such

        claims; and confirmation that all parties have been served with respect to such claims

     5. Plaintiff’s explanation of the facts of the case as known to the plaintiff as of the date of

        the writing of the letter

     6. Where appropriate to case, a statement that all HIPPA compliant authorizations have

        been provided or the date upon which those authorizations will be provided and, where

        applicable, that authorizations will be provided on a rolling basis

     7. Joint statement describing in detail the paper discovery that can be exchanged — without

        the necessity for formal document requests. Such statement must include the date by

        which such paper discovery will be complete. Absent unusual circumstances, that date

        shall be no longer than 60 days following the date of the status letter

     8. A date for submission of a joint status letter and proposed date for a telephone status

        conference with the Court.

     If counsel fails to timely submit the required joint letter, the Court will require that

     counsel immediately submit the letter along with a one-page explanation as to counsels’

     failure to comply with this Court’s rules.
